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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


ENTERTAINMENT ONE UK LTD.,

       Plaintiff,
                                                         Case No.: 18-cv-00737
v.

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,                              FILED UNDER SEAL

       Defendants.



                                           SCHEDULE A


                    No.                              Defendants
                       1   1_78198
                       2   925yww Store
                       3   A A A A A party Store
                       4   A Party Store
                       5   ACGN Station
                       6   Affordable Store
                       7   AiASHOP's booth
                       8   A-invitation Store
                       9   aliyyubi's booth
                      10   Anime Kingdoms Store
                      11   Awesome Store
                      12   Beautiful Clothes Store
                      13   Boom Specialty Store
                      14   Bui_Van_Ngoc's booth
                      15   buyer671399's booth
                      16   BYBEBE Store
                      17   Cartoon Factory Trade
                      18   chatdocstore
                      19   cipkid Store
                      20   Citra Shop


                                                     1
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              21   convivial FestiveParty Store
              22   Cosplay store
              23   cosplaycostumediy
              24   CosplayDreamland Store
              25   Dance with a Mask!
              26   diyplush
              27   dnrchan
              28   Dongguan City Xinzhong Electronic Commerce Co., Limited
              29   Dongguan Gaozhu E-Commerce Co., Ltd.
              30   Dongguan Qiao An Toys Co., Ltd
              31   Dvkstore2017
              32   everything-hollywood
              33   FabricDigitalPrinter
              34   Factory Discount bulk Store
              35   feiyang
              36   fly2-the-moon-mascots
              37   Foil balloon professional
              38   Foshan Jingzhou Toys Co., Ltd.
              39   FuFan Room Decor Store
              40   FUZHOU JINAN DISTRICT FEIYUE ELECTRONIC CO.LTD
              41   Gaoyao City Jindu Town Jia Feng Craft Gifts Factory
              42   Gesikai Store
              43   Goodsbigsale
              44   Guangzhou Big Hippo Amusement Co., Ltd.
              45   Guangzhou Happy Island Toys Co., Ltd.
              46   Guangzhou Kairong Industrial Co., Ltd.
              47   Guangzhou YuanHaoPengPeng Gift Co., Ltd
              48   haili777
              49   Himalaya
              50   hunnyblessing
              51   huyphushop's booth
              52   Ian zhu Store
              53   iBalon party Store
              54   idearspace Store
              55   itoy Store
              56   Itsameal
              57   Jarvis Store
              58   Jiayi Party & Festival Costume Huangshi Co., Ltd.
              59   Johnhenry1202
              60   julycraft2010
              61   Kigoumi Store


                                         2
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              62   kisso2o
              63   KK 1018 store
              64   KK party Store
              65   LBX store Store
              66   LDTEXMY Party balloons Store
              67   Letter balloon store
              68   lifestyle
              69   Love Baby's booth
              70   loztoy's booth
              71   maxhooli2013
              72   Michmath
              73   Mimi share shop
              74   Ming Quan import and export company Store
              75   Mommy For Baby Store
              76   My Childhood Store
              77   Nanjing Palapala Trade Co., Ltd.
              78   Nathalya's booth
              79   Nice2 Toy Store
              80   ONTE(Ledundudu) Store
              81   OREZ2 Store
              82   OvalFace365 Store
              83   Paperycut
              84   PAPYBAL Party Suplies Store
              85   Party Balloons NO1
              86   Party Balloons Store
              87   Party Gueen Store
              88   pompom store
              89   Q lamp Store
              90   qidian Store
              91   Quality Store Store
              92   Quanzhou Walson Imp&Exp Co., Ltd.
              93   RAISEVERN Child Store
              94   REDUDIANZI Store
              95   Reians Balloons Base Store
              96   renehuri
              97   Rikuzo Tech Store
              98   roningrat's booth
              99   royhappy's booth
             100   Sen's mascot
             101   sexy baby(Your) Store
             102   Shanghai Gravim Industrial Co., Ltd.


                                        3
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             103   Shaoxing Xiangying Textile Co., Ltd.
             104   Shenzhen Dotely Technology Co., Ltd.
             105   Shenzhen Jutuo Supply Chain Co., Ltd.
             106   Shenzhen Starfly Technology Co., Ltd.
             107   Shenzhen YiHui International Trade
             108   Shijiazhuang Cool Apparel Co., Ltd.
             109   Shijiazhuang Timmy Trading Co., Ltd.
             110   shineestarfashion's booth
             111   Shop1985662 Store
             112   Shop3216140 Store
             113   Shop3245036 Store
             114   Shop3253090 Store
             115   SmartToy Store
             116   Son of Elbert Shop
             117   SpecialABCparty Store
             118   special-gift
             119   superbaby Store
             120   Sweety Party Store
             121   Sweety Store
             122   TEAEGG Store
             123   TIAN EN chidren Store
             124   toetstore
             125   tommytoy
             126   tongyue2016 Store
             127   Tyrone Store
             128   Usdream
             129   Useek Toy Store
             130   WayClothing's booth
             131   wedding & party Store
             132   White Magical Toy Store Store
             133   wristbandstore
             134   wsda toy Store
             135   Wujiang Rainbow Textile Manufacturing Co., Limited.
             136   Xiamen Toofine Trading Co., Ltd.
             137   XiaoXiaBabyShoes Store
             138   xinqingxinyu789
             139   Y toy house Store
             140   Yangzhou Merry Plush Toys Co., Ltd.
             141   Yiwu Isabella Arts & Crafts Co., Ltd.
             142   Yiwu Isabella Arts & Crafts Factory
             143   Yiwu Kazan e-commerce firm


                                          4
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             144   Yiwu Miqi Trading Co., Ltd.
             145   Yiwu Partygo Toys Co., Ltd.
             146   Yiwu Valens Crafts Factory
             147   Yiwu Xindian Crafts Co., Ltd.
             148   Yiwu Yecheng Trade Limited Company
             149   YSHanMUM Store
             150   YYSSGO Store
             151   zhanglg1949
             152   beatable
             153   Best_value_for_money
             154   CheapBuy
             155   Costumes4less.com®
             156   Deals Only
             157   dongguanshizhentaiwangluokejiyouxiangongsi
             158   Fashion567go
             159   Fun.com
             160   henantianhaiyalirongqishebei
             161   Kids Whs LLC
             162   leijiqiongsi
             163   lijin0209
             164   liusijing123
             165   liusijing123
             166   liuyuxuan4667
             167   love family love home
             168   miracle's shop
             169   mitangbaobao
             170   OptimumFulfillment
             171   qingdaozhengtiankaiwuchan
             172   Quarto Store
             173   Rover Mall
             174   Sailing Baby Co Ltd
             175   startyoushop
             176   The Primrose Lane
             177   The seeds of may
             178   Tlqhuae
             179   wanghong139
             180   wangzimayiqidaxiang
             181   Wish - Official Store - Designer Brands
             182   wujiaming
             183   yanhongshiping
             184   YIQI Trading Co., Ltd.


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                 185   zengxiaoyu
                 186   AAAADINGDD
                 187   AThiTOZone
                 188   BB Internet Limited
                 189   BeaFire Outdoor
                 190   Brisky Clound
                 191   Climber-HK
                 192   fakye fu zhuang fu shi
                 193   GanYu
                 194   Imagine Toys
                 195   KINGSUN2015
                 196   KINOMOTO
                 197   langton_distribution
                 198   Leegor
                 199   MVJEDW
                 200   Nece eco
                 201   only baby
                 202   Owone Box
                 203   RAMUSA
                 204   RDINFGUMG
                 205   RHO Products
                 206   Rinuu
                 207   Seaton Trading Co Ltd
                 208   syutguihgfd
                 209   Utopia Lee
                 210   XUJIE




No.                              Defendant's Online Marketplaces
  1 http://www.ebay.com/usr/1_78198
  2 https://de.aliexpress.com/store/3223045?spm=a2g0x.10010108.100005.1.4a6cc26cdkv33O

  3 https://de.aliexpress.com/store/2165018/search?origin=n&SortType=bestmatch_sort&SearchTe
    xt=pj%20masks
  4 https://www.aliexpress.com/store/3281023
  5 https://www.aliexpress.com/store/2232033
  6 https://www.aliexpress.com/store/3150034?spm=2114.10010108.100005.1.6f04c675llOrqt
  7 https://www.bonanza.com/booths/AiASHOP
  8 https://www.aliexpress.com/store/135067/search?origin=y&SearchText=pj+masks
  9 https://www.bonanza.com/booths/aliyyubi

 10
      https://www.aliexpress.com/store/3218149?spm=2114.10010108.100005.1.697a0fa8fcQdwM

                                                6
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11 https://de.aliexpress.com/store/2180125

12
     https://www.aliexpress.com/store/2970077?spm=2114.10010108.100005.1.1b4d1c1eYSqBcN
13   https://de.aliexpress.com/store/3221118
14   https://www.bonanza.com/booths/Bui_Van_Ngoc
15   http://www.bonanza.com/booths/buyer671399
16   https://www.aliexpress.com/store/3219003
17   https://de.aliexpress.com/store/1095204
18   http://www.ebay.com/usr/chatdocstore
19   https://www.aliexpress.com/store/1683227
20   https://www.bukalapak.com/u/citrashop2
21   https://de.aliexpress.com/store/3205087
22   http://www.bonanza.com/booths/Ganen
23   http://cosplaycostumediy.ecrater.com
24   https://www.aliexpress.com/store/2949070

25 https://dancingmasks.aliexpress.com/store/704037?spm=2114.10010108.100005.1.55d967959E
   yBcY
26 https://diyplush.ecrater.com/
27 http://dnrchan.ecrater.com
28 https://greatchildren.en.alibaba.com/?spm=a2700.details.cordpanyb.3.7f15fed7i9nDdC
29 https://dggaozhu.en.alibaba.com/?spm=a2700.wholesale.cordpanyb.3.55258871URRw1X
30 http://cartoonplushtoys.sell.ecer.com/

31 https://www.dhgate.com/wholesale/store.do?act=sellerStore&searchkey=Pjmasks&suppliernum
   =20825454&pt=1
32 http://everything-hollywood.ecrater.com
33 https://www.etsy.com/shop/FabricDigitalPrinter
34 http://www.aliexpress.com/store/2982024
35 https://de.aliexpress.com/store/1593033
36 http://fly2-the-moon-mascots.ecrater.com
37 https://www.aliexpress.com/store/1160888
38 https://56toys.en.alibaba.com/?spm=a2700.details.cordpanyb.3.57574c7AwFOLg
39 https://de.aliexpress.com/store/811758
   https://fzvision.en.alibaba.com/product/60447139327-
40 804329301/Popular_Boys_hero_Mask_Cosplay_Super_Hero_Cape_with_Mask_owlette_wristba
   nd_bracelet.html?spm=a2700.8304367.prewdfa4cf.2.6f4db64cA63zIJ
41 https://wristbandfamily.en.alibaba.com/?spm=a2700.details.cordpanyb.3.77f4f4d61sOF4S

42
   https://www.aliexpress.com/store/1710904?spm=2114.10010108.100005.1.6b12cc4arnSGZ8
43 https://www.dhgate.com/store/14770880
44 https://gzbighippo.en.alibaba.com/company_profile.html
45 https://happytoy.en.alibaba.com/company_profile.html


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46 https://kaven.en.alibaba.com/search/product?SearchText=%28Best+Gift%295pcs+PJ+Masks+Mo
   vie+Action+Figure%2C+PJ+Masks+PVC+Figure%2CWholesale+PJ+Masks+action+figure
47 https://yhpp.en.alibaba.com/?spm=a2700.wholesale.cordpanyb.3.2a031255dJes57
48 http://www.ioffer.com/selling/haili777
49 https://www.dhgate.com/store/14770471#st-navigation-storehome
50 http://hunnyblessing.ecrater.com
51 https://www.bonanza.com/booths/huyphushop
52 https://de.aliexpress.com/store/2504009
53 https://de.aliexpress.com/store/3137047?spm=a2g0x.10010108.0.0.10a9cae1jsWqs4
54 https://de.aliexpress.com/store/921160
55 https://www.aliexpress.com/store/2979007?spm=2114.10010108.100005.1.921e4f9tFTD9Z
56 http://www.aliexpress.com/store/2204006?spm=2114.10010108.100005.1.p7ECAI
57 https://de.aliexpress.com/store/2926041
58 https://jiayi-cosplay.en.alibaba.com/
   https://www.bonanza.com/booths/Johnhenry1202?utf8=%E2%9C%93&item_sort_options[filter
59 _string]=pj+masks&item_sort_options[filter_category_id]=&item_sort_options[custom_category
   _id]=&commit=Go
60 http://julycraft2010.ecrater.com
61 https://www.aliexpress.com/store/2815077
62 http://www.ebay.com/usr/kisso2o
63 https://www.aliexpress.com/store/621578?spm=2114.10010108.100005.1.SzIEZu

64
     https://www.aliexpress.com/store/2956064?spm=2114.10010108.100005.1.4cebecc4OkS5ZP

65
   https://www.aliexpress.com/store/2798095?spm=2114.10010108.100005.1.5ff35294yeWH3f
66 https://www.aliexpress.com/store/611207?spm=2114.10010108.100005.1.26e9d7f4BNAzfp

67
   https://www.aliexpress.com/store/1836203?spm=2114.10010108.100005.1.3abd6063o6tnqJ
68 https://www.aliexpress.com/store/411563?spm=2114.10010108.100005.1.320e1b55z7qYA4
   https://www.bonanza.com/booths/dieu_tu?utf8=%E2%9C%93&item_sort_options[filter_string]
69 =pj+masks&item_sort_options[filter_category_id]=&item_sort_options[custom_category_id]=&c
   ommit=Go
70 http://www.bonanza.com/booths/loztoy
71 http://www.ebay.com/usr/maxhooli2013
72 https://www.bukalapak.com/u/hendra_2003
73 https://de.aliexpress.com/store/1881232
74 http://www.aliexpress.com/store/2496035
75 https://de.aliexpress.com/store/3248070?spm=a2g0x.10010108.100005.1.233ca7e36jmQ1z
76 https://www.aliexpress.com/store/3243036?spm=2114.10010108.100005.1.8d243N8FXFc
77 https://palapala.en.alibaba.com/
78 http://www.bonanza.com/booths/Nathalyabond

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 79   https://www.aliexpress.com/store/3255026
 80   https://www.aliexpress.com/store/314769
 81   https://de.aliexpress.com/store/3215086
 82   https://de.aliexpress.com/store/3216002
 83   https://www.tokopedia.com/paperycut
 84   https://de.aliexpress.com/store/3004076?spm=a2g0x.10010108.0.0.12b0e058E6lzRg

 85
      https://www.aliexpress.com/store/2227160?spm=2114.10010108.100005.1.58602913qPKIHT
 86   https://www.aliexpress.com/store/2940003
 87   https://www.aliexpress.com/store/3106053
 88   https://www.aliexpress.com/store/1905415
 89   https://www.aliexpress.com/store/3249095?spm=2114.10010108.100005.1.196aa919h0FjBi
 90   https://www.aliexpress.com/store/3194080?spm=2114.10010108.0.0.11fe5d9ar75rrX
 91   https://www.aliexpress.com/store/3217142
 92   https://hkzhengtian.en.alibaba.com/
 93   https://www.aliexpress.com/store/3089024
 94   https://www.aliexpress.com/store/3181034?spm=2114.10010108.100005.1.7263e74fisI9Ps

 95
      https://www.aliexpress.com/store/3210147?spm=2114.10010108.100005.1.37c24f0fZnJgNO
 96   http://www.ioffer.com/selling/renehuri
 97   https://de.aliexpress.com/store/3111011
 98   https://www.bonanza.com/booths/roningrat
 99   https://www.bonanza.com/booths/royhappy
100   https://www.aliexpress.com/store/1895138?spm=2114.10010108.100005.1.a5930abrIpdX9
101   https://www.aliexpress.com/store/2764001
102   https://gravim.en.alibaba.com/
103   https://xiangyingtextile.en.alibaba.com/company_profile.html

104 http://dotely.en.made-in-
    china.com/product/keywordSearch?searchKeyword=Pj+masks&viewType=1
105 https://szjutuo.en.alibaba.com/
106 https://szstarfly.en.alibaba.com/company_profile.html
107 https://de.aliexpress.com/store/1393960
108 https://coolapparel.en.alibaba.com/
109 https://sjztm.en.alibaba.com/company_profile.html
110 https://www.bonanza.com/booths/shineestarfashion
111 https://www.aliexpress.com/store/1985662
112 https://www.aliexpress.com/store/3216140
113 https://de.aliexpress.com/store/3245036
114 https://de.aliexpress.com/store/3253090
115 https://www.aliexpress.com/store/3018078
116 https://www.tokopedia.com/putraelbertshop


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117   https://de.aliexpress.com/store/2345048
118   http://special-gift.ecrater.com
119   https://de.aliexpress.com/store/3003034
120   https://de.aliexpress.com/store/3106038
121   https://www.aliexpress.com/store/3087094
122   https://de.aliexpress.com/store/3244097
123   https://de.aliexpress.com/store/3242075
124   http://www.bonanza.com/booths/toetstore
125   http://tommytoy.ecrater.com

126
      https://www.aliexpress.com/store/2664174?spm=2114.10010108.100005.1.7cc79692HyKdi0
127   https://tyrone119.aliexpress.com/store/3241057
128   https://www.dhgate.com/store/19887939
129   https://www.aliexpress.com/store/2678065?spm=2114.10010108.0.0.3174e17fOpbFnV
130   https://www.bonanza.com/booths/WayClothing

131
      https://www.aliexpress.com/store/3222100?spm=2114.10010108.100005.1.23020c33iHzw5r
132   https://www.aliexpress.com/store/3194061
133   https://www.aliexpress.com/store/1711916
134   https://www.aliexpress.com/store/3246092?spm=2114.10010108.0.0.41c358efsAH6fh
135   https://jsrainbow.en.alibaba.com/
136   http://toofine.en.alibaba.com/company_profile.html#top-nav-bar

137 https://xiaoxiaobabyshoes.de.aliexpress.com/store/all-wholesale-
    products/1427503.html?spm=a2g0x.12010608.0.0.1a3b04b2TF5A0B
138 http://www.ioffer.com/selling/xinqingxinyu789
139 https://www.aliexpress.com/store/3195076
140 https://meridatoy.en.alibaba.com/company_profile.html
141 https://isabellagift.en.alibaba.com/?spm=a2700.details.cordpanyb.3.4a294c065tpMJo
142 https://isabellagift.en.alibaba.com/company_profile.html
143 https://kazanballoon.1688.com/page/creditdetail.htm
144 https://yiwuballoons.en.alibaba.com/company_profile.html
145 https://partygo.en.alibaba.com/

146 https://valensindustry.en.alibaba.com/company_profile.html?spm=a2700.7724838.2017115.13.
    440f24f0DgJRRp#top-nav-bar

147
    https://yiwuxindian.1688.com/page/feedback.htm?spm=a261y.7663282.0.0.19b1bb93yhGEB1
148 https://curious-box.en.alibaba.com/

149
    https://www.aliexpress.com/store/3173030?spm=2114.10010108.100005.1.3a935274EN4Y38
150 https://www.aliexpress.com/store/3055060
151 https://www.dhgate.com/store/20809848


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152   https://www.wish.com/merchant/5854f0e1810891037db16969
153   https://www.wish.com/merchant/599686f250df616efe540496
154   https://www.wish.com/merchant/55c06e36ea526c7156bc9fea
155   https://www.wish.com/merchant/552458ddfd806f1bec5ef720
156   https://www.wish.com/merchant/5910b84dc8790d338623dfef
157   https://www.wish.com/merchant/556f2e086faa881d1461037f
158   https://www.wish.com/merchant/58c265c86f009c1e61c648f8
159   https://www.wish.com/merchant/592dcfb8260b8f06dfed7ff2
160   https://www.wish.com/merchant/56d7999494788e168b1f0d99
161   https://www.wish.com/merchant/59ef99270a332a070dab1d34
162   https://www.wish.com/merchant/58f0aba96fbd1d71437abdca
163   https://www.wish.com/merchant/5928dd4a2a17514355a6ecd2
164   https://www.wish.com/merchant/5780e81a16b28951cdaabdfc
165   https://www.wish.com/merchant/5780e81a16b28951cdaabdfc
166   https://mama.wish.com/merchant/592f6c9574f4a426eb3a3ba2
167   https://www.wish.com/merchant/55a9b519e19b93406624353d
168   https://www.wish.com/merchant/58062a7248238b5298050ecf
169   https://mama.wish.com/merchant/58df6d107f36b352d43e5936
170   https://www.wish.com/merchant/59a4b9030415f83c63b61054
171   https://www.wish.com/merchant/56d009edaf177215f1843403
172   https://www.wish.com/merchant/58be835adde13b639562a55b
173   https://www.wish.com/merchant/588fcb5d018f7e506d865a45
174   https://mama.wish.com/merchant/5548773d898e390f8ef5fbb2
175   https://mama.wish.com/merchant/59ff60bddd032918ed1d750d
176   https://www.wish.com/merchant/58d0556bacb37b6bbd5ceee2
177   https://www.wish.com/merchant/56d68f49eaa7114fb08f6dcb
178   https://mama.wish.com/merchant/591056704d43576347e8b438
179   https://www.wish.com/merchant/58cd32c89d3bbc54d1fda12c
180   https://www.wish.com/merchant/58c79ab876a43650407f58d7
181   https://www.wish.com/merchant/56c3a0ce8bd26e0928022355
182   https://www.wish.com/merchant/5985947dec40ae2ccc40d131
183   https://www.wish.com/merchant/58905cca4e83974d520e36f0
184   https://www.wish.com/merchant/58cf955d1ba148511d81f099
185   https://www.wish.com/merchant/58b29e965a59d350f0c4a6ae

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